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                UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Case No. 22mj638 (JFD)
                                          )
                          Plaintiff,      )
       v.                                 )    NOTICE OF APPEARANCE
                                          )
 THOMAS BENSON MOTANYA,                   )
                                          )
                        Defendant.        )



      Pursuant to the Court’s order appointing counsel, the undersigned attorney

hereby notifies the Court and counsel that Douglas L. Micko shall appear as

appointed counsel of record for the above named defendant in this case.



Dated: August 03, 2022                        s/Douglas L. Micko
                                              DOUGLAS L. MICKO
                                              Attorney ID No. 299364
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
